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                                          #:33


  1   SULAIMAN LAW GROUP, LTD.
  2   Alejandro E. Figueroa, Esq. (Cal. Bar No. 332132)
      2500 S. Highland Avenue, Suite 200
  3   Lombard, IL 60148
  4   Telephone: (630) 575-8181
      Fax: (630) 575-8188
  5   alejandrof@sulaimanlaw.com
  6   Counsel for Plaintiff
  7                        UNITED STATES DISTRICT COURT
  8
                          CENTRAL DISTRICT OF CALIFORNIA
  9

 10                                                   Case No. 2:21-cv-03441-DSF-MAR
       JANET MANCILLA,
 11
                       Plaintiff,                     NOTICE    OF    VOLUNTARY
 12                                                   DISMISSAL WITH PREJUDICE
             v.
 13

 14

 15    VIKING CLIENT SERVICES, LLC

 16                    Defendant.
 17
            NOW COMES Janet Mancilla (“Plaintiff”), through the undersigned counsel,
 18
      and in support of her Notice of Voluntary Dismissal, states as follows:
 19

 20         Plaintiff, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) of the Federal Rules of
 21
      Civil Procedure, Plaintiff hereby gives notice that this action is voluntarily dismissed
 22
      with prejudice. Each party shall bear its own costs and attorneys’ fees. This notice of
 23

 24   dismissal is being filed with the Court before service by Defendant of either an
 25
      answer or a motion for summary judgment.
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                                                  1
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                                    #:34


  1   Date: June 29, 2021                        Respectfully submitted,
  2
                                                 By: /s/ Alejandro E. Figueroa
  3                                              Alejandro E. Figueroa
  4                                              Sulaiman Law Group, Ltd.
                                                 2500 S. Highland Avenue, Suite 200
  5                                              Lombard, Illinois
  6                                              Telephone: (630) 575-8181
                                                 alejandrof@sulaimanlaw.com
  7                                              Counsel for Plaintiff
  8

  9

 10
                             CERTIFICATE OF SERVICE
 11

 12
            I hereby certify that on June 29, 2021, I caused a copy of the foregoing
      NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE to be served by
 13
      U.S. Mail to the following address:

 14

 15
                               Viking Client Services, LLC
                             10050 Crosstown Circle, Suite 300
 16                              Eden Prairie, MN 55344
 17
                                                       /s/ Alejandro E. Figueroa
 18                                                    Alejandro E. Figueroa, Esq.
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